     Case 3:16-cv-01790-BEN-BLM Document 31 Filed 04/27/17 PageID.183 Page 1 of 1



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 3                                                                    CLERIC U.S. DISTRICT COURT
                                                                     SOUTHlRH DISTRICT OF CALIFORNIA
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 8                            UNITED STATES DISTRICT COURT
 9                           SOUTHERN DISTRICT OF CALIFORNIA
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11    MARISSA GLOVER,                                     Case No.: 3:16-cv-01790-BEN-BLM
12                                       Plaintiff,
                                                          ORDER GRANTING JOINT
13    v.                                                  MOTION TO DISMISS ACTION
14    TD BANK, N.A., et al.,
15                                    Defendants.
16
17          The Court has considered the Joint Motion to Dismiss Action Without Prejudice
18    (the '~Joint Motion'') filed by Plaintiff Marissa Glover and the only remaining defendant,
19 TD Banlc, N.A. ("TD Bank"). (Docket No 30.)
20          For good cause shown, the Joint Motion is GRANTED. Plaintiff's action is
21    DISMISSED WITHOUT PREJUDICE. Each party shall bear its own fees and costs.
22          .I T IS SO ORDERED.
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24    DATED: April/tb2017
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